 

AO 245 S {Rev. 4.|'90)(W.D. TN rev.) ludgment in a Criminal Case Page l on

Case 2:Ol-cr-20045-SHI\/| Document 44 Filed 08/03/05 Page 1 of 3 Page|D 51

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Western District of Tennessee l
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UNITED srATES oF AMERICA mem M. GOULD
CLEHK, U.S. assist COURT
WNJ i}F ?~l;é?»lP‘riiS

V. Case Nmnber CR 2:01CR20045-Ma

TAMARA WILLIAMS

AMENDED* JUDGMENT AND COMMITMENT ORDER
ON PROBATION VIOLATION

(For Oi’fenses Committed On or A.|'ter November 1, 1987 )

The defendant, Tamara Williams, was represented by Mr. Needum Loujs Germany, III.

It appearing that the defendant, Who was sentenced in the above-styled cause by the Hon.
Neal B. Biggers, U.S. District Court, Oxford, Mississippi, on February 1, 2001, and was placed on
Probation supervision for a period of three (3) years, has violated the terms of her supervision, it is
hereby ORDERED and ADJUD GED that the defendant’s Probation be revoked and that defendant
be committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
*tirne already served

*The defendant shall be placed on Supervised Release for a period of one (1) year. The
previous conditions of defendant’s supervision are re-imposed, with the exception of the
condition that defendant serve a period of horne coniinernent.

The defendant shall also comply with the following additional condition of supervised
release:

The defendant shall cooperate in the collection of DNA as directed by the Probation Officer.

The defendant shall comply with the standard conditions of supervised release as set forth on Page
2 of this Judgment.

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Signed this day of August, 2005.

SAMUEL H. MAYS, JR.
United States District ]udge

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Case 2:Ol-cr-20045-SHI\/| Document 44 Filed 08/03/05 Page 2 of 3 Page|D 52

AO 245 S (R:v. 4190)(W.D.'[N1'ev.)ludgmesitin a C:i.minal. Caae Page 2 of 2

 

DEFENDANT: TAMARA WILLIAMS
CASE NU`MBER: 2:01CR20045-01-Ma

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STANDARD CONDITIONS OF SUPERVISION

The defendant shall not commit another federal, state, or local crime.

The defendant shall not illegally possess a controlled substance

The defendant shall not possess a firearm or destructive device.

The defendant shall not leave the judicial district without the permission of the court or probation officer;

The defenth shall report to the probation officer as directed by the court or probation officer and shall submit a truthful
and complete written report within the first live days of each month',

The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
officer',

The defendant shall support his or her dependents and meet other family responsibilities;

The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training,
or other acceptable reasons',

The defendant shall notify the probation officer within seventy~two hours of any change in residence or employment;

The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute or administer
any narcotic or other controlled substance, or any paraphernalia related to such substances except as prescribed by a
physician;

The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

The defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
convicted of a felony unless granted permission to do so by the probation officer',

The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
confiscation of any contraband observed in plain view by the probation oli`icer;

The defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by alaw
enforcement officer;

The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
without the permission of the court;

As directed by the probation officer, the defendant shall notify third parties of risks that maybe occasioned by the
defendants criminal record or personal history or characteristics, and shall permit the probation officer to make such
notifications and to confirm the defendants compliance with such notification requirementl

 

UNITED §TATE DI§TRICT COURT- WESTERN Dl§TRiCT OF TENNE§§EE

Notice of Distribution

This notice confirms a copy of the document docketed as number 44 in
case 2:0]-CR-20045 Was distributed by faX, mail, or direct printing on
August 5, 2005 to the parties listedl

 

 

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Honorable Saniuel Mays
US DISTRICT COURT

